       Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 1 of 27




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

  v.                                      Case No. 1:23-cr-00257-TSC

 DONALD J. TRUMP,

         Defendant.




PRESIDENT TRUMP’S REPLY BRIEF IN SUPPORT OF HIS MOTION TO DISMISS
        THE INDICTMENT BASED ON PRESIDENTIAL IMMUNITY
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 2 of 27




                                       INTRODUCTION

       The question of presidential criminal immunity is a weighty one, intertwined with

fundamental issues regarding our Constitution’s structure, our history and traditions, and the

President’s unique role as the leader of our country. Although not yet resolved by the Supreme

Court or any Circuit—because all prosecutors until now have respected Presidential immunity—

the legal underpinnings and need for such protections are manifest. As the Supreme Court held in

Nixon v. Fitzgerald, the President must have the ability to make decisive—and often unpopular—

decisions regarding matters of public concern. 457 U.S. 731 (1982). Just as he cannot be

constrained by fear of civil lawsuits, so too should he be protected from the much more potent

specter of criminal prosecution. To hold otherwise would require the President to hesitate at every

turn, conscious of the very real threat that one of many hundreds of prosecutors around the country

may one day question his motives and seek to imprison him for his actions as President.

       Nor would recognizing criminal immunity place the President above the law, as the

prosecution contends. Rather, it would return us to the sensible process envisioned by the founders,

where the People’s representatives in Congress—not an unelected prosecutor—first decide

whether a President’s official actions are worthy of sanction and potential criminal liability. That

has not occurred, and, in fact, the Senate acquitted President Trump of charges formed on the same

basis as the indictment. Accordingly, the Court should hold that President Trump is immune from

criminal prosecution for the acts described in the indictment and dismiss this case, with prejudice.

                                          ARGUMENT

I.     Presidential Immunity Bars Criminal Prosecution of a President for Official Acts.

       The prosecution argues that Presidential immunity does not extend to criminal prosecution

of a President for his official acts. Response, at 7-34 (“Response”). The prosecution is wrong.



                                                 1
         Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 3 of 27




       A.      Presidential Immunity Does Not Place the President “Above the Law.”

       First, the prosecution argues that recognizing immunity from criminal prosecution would

place the President “above the law.” Response, at 1 (quoting United States v. Lee, 106 U.S. 196,

220 (1882)); see also id. at 1, 3, 7, 8, 15, 16 n.9, 17, 19, 20, 24, 26, 34.1 Not so. As the prosecution

recognizes, a President is subject to criminal prosecution for (1) “unofficial conduct” or purely

private acts, Response, at 6; and (2) conduct within the scope of his official responsibilities,

provided that he is first impeached by the House of Representatives and convicted by the Senate

for such conduct, id. at 3-4. The Impeachment Judgment Clause states that, after a trial in the

Senate, “the Party convicted shall nevertheless be liable and subject to Indictment, Trial, Judgment

and Punishment, according to Law.” U.S. CONST. art. I, § 3, cl. 7 (emphasis added). The Clause

authorizes the prosecution of a President for conduct committed while in office, provided that the

President is first “convicted” of such conduct by the United States Senate. Id.

       The historical authorities cited by the prosecution contemplate this same sequencing. For

example, the prosecution quotes Hamilton’s Federalist No. 65, which states that “[a]fter having

been sentenced to a perpetual ostracism from the esteem and confidence, and honors and

emoluments of his country [through impeachment and conviction by the Senate], he will still be

liable to prosecution and punishment in the ordinary course of law.” THE FEDERALIST NO. 65, at

365 (emphasis added); see also infra at 4, 8–9 (discussing additional authorities).

       Recognizing Presidential immunity from criminal prosecution, therefore, does not place a

President “above the law,” or mean that he may never be prosecuted for official acts. Instead, it


1
  The case that the Government cites for this argument, United States v. Lee, 106 U.S. 196, 220
(1882), was a property dispute between the federal government and Robert E. Lee’s heirs over the
lands that became Arlington National Cemetery; it has little or no application to the dispute here.

                                                   2
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 4 of 27




affirms the careful safeguards that the framers erected around the Presidency for the sake of the

public good, and ensures that only Congress, as the People’s representatives, may decide when and

whether the President shall be “liable and subject to Indictment, Trial, Judgment and Punishment,

according to Law.” U.S. CONST. art. I, § 3, cl. 7.

       B.      The Text of the Constitution Requires Presidential Immunity to Prosecution.

       The prosecution next argues that immunity cannot lie because “no provision in the

Constitution explicitly grants immunity to a sitting or former President of the United States.”

Response, at 5; see also id. at 9. This is, again, incorrect. See Doc. 74, at 11-13. As an initial

matter, even absent specific textual support, the Supreme Court has repeatedly recognized broad

immunity doctrines, including both judicial immunity and the President’s absolute civil immunity.

Fitzgerald, 457 U.S. at 750 n.31 (“[A] specific textual basis has not been considered a prerequisite

to the recognition of immunity. No provision expressly confers judicial immunity. Yet the

immunity of judges is well settled.”). Likewise, “the temporary immunity from criminal liability

that an incumbent president enjoys while in office,” Response, at 11, also lacks explicit support in

the Constitution, but certainly exists, as the prosecution acknowledges here. Thus, the absence of

a specific “Presidential Immunity Clause,” is not determinative. Rather, the Court must look to the

text of the constitution in conjunction with the “policies and principles that may be considered

implicit in the nature of the President’s office in a system structured to achieve effective

government under a Constitutionally mandated separation of powers,” Fitzgerald, 457 U.S. at 748.

Likewise, the Court must consider the “history,” the “common law,” “public policy,” and “our

history and the structure of our government,” id. at 747-48; Doc. 74, at 8-21.

       Regardless, the text of the Constitution—namely the Impeachment Judgment Clause—

straightforwardly supports Presidential immunity from criminal prosecution absent conviction in

the Senate, see U.S. CONST. art. I, § 3, cl. 7. The Clause provides that “the Party convicted shall
                                                     3
         Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 5 of 27




nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment, according to

Law.” U.S. CONST. art. I, § 3, cl. 7. The most natural interpretation is that this statement means

exactly what it says—that a convicted party is liable to criminal prosecution. Thus, a President

who is not “convicted” is not liable. See SCALIA & GARNER, READING LAW: THE INTERPRETATION

OF LEGAL TEXTS 107 (2012) (discussing the “negative-implication canon” as “the principle that

specification of the one implies exclusion of the other validly describes how people express

themselves and understand verbal expression.”); Trump v. Vance, 140 S. Ct. 2412, 2444 (2020)

(Alito, J., dissenting) (“The plain implication [of the Impeachment Judgment Clause] is that

criminal prosecution … is a consequence that can come about only after the Senate’s judgment,

not during or prior to the Senate trial.”).

        The prosecution attempts to evade this clear language by arguing that the Clause, in

referencing criminal prosecution after conviction in the Senate, somehow strips the President of

criminal immunity, regardless of the Senate’s decision. Response, at 9-10. But this argument flips

the plain text of the Clause on its head. Indeed, if the prosecution were correct, the phrase “Party

convicted” would be rendered a nullity, as the President would be chargeable under any

circumstances. This is clearly incorrect. See Marbury v. Madison, 5 U.S. (1 Cranch) 137, 174

(1803) (an interpretation under which “[a]ffirmative words” would “have no operation at all”

should be rejected). Historical authorities—including those cited by the prosecution—likewise

support the interpretation that a Senate conviction is a prerequisite for criminal prosecution. For

example, Alexander Hamilton’s comments in The Federalist No. 69, which the prosecution cites

(Response, at 8), states in full: “The President of the United States would be liable to be impeached,

tried, and, upon conviction of treason, bribery, or other high crimes or misdemeanors, removed




                                                  4
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 6 of 27




from office; and would afterwards be liable to prosecution and punishment in the ordinary course

of law.” THE FEDERALIST NO. 69 (emphasis added).

       The word “afterwards,” which the prosecution selectively omits from its brief, Response,

at 8, forecloses any contention that a President may be criminally prosecuted regardless of the

outcome of his impeachment trial (or even if never impeached). Instead, as Hamilton understood

it, impeachment and conviction must come first, and only “afterwards” would criminal prosecution

be possible. Id. Moreover, Hamilton’s comments should be considered against the background of

English common law, under which the criminal prosecution of the Chief Executive was virtually

unthinkable. 3 BLACKSTONE’S COMMENTARIES ON THE LAWS OF ENGLAND ch. 17, pp. 254-55; see

also Marbury, 5 U.S. (1 Cranch) at 164-65. As Hamilton emphasizes, the Impeachment Judgment

Clause makes an important exception to that centuries-old rule—ensuring that the President would

not be a “king,” but instead responsible to the People’s representatives, and subject to criminal

prosecution upon impeachment and conviction.

       For its part, the prosecution argues that it would be “incongruous” and “strained” for the

Constitution to endorse Presidential immunity, but make an exception for Presidents who are

convicted by the Senate. Response, at 10. On the contrary, the requirement of impeachment and

conviction by the Senate assures that a President can be held criminally responsible for his actions

in office, but only if there is a broad political consensus in Congress for doing so. To this end, the

Constitution requires action by both Houses of Congress, including a supermajority of the

Senators, providing the President with a critical structural protection from politically motivated

prosecutions and those “new fangled and artificial treasons,” which historically “have been the

great engines, by which violent factions … have usually wreaked their alternate malignity on each

other.” THE FEDERALIST No. 47 (Madison).



                                                  5
         Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 7 of 27




        However, once the charges against the President have been tested through this structural

process, and found meritorious by the Senate, then it makes perfect sense to treat the former

President on the same footing as other citizens subject to criminal prosecution. See U.S. CONST.

art. I, § 3, cl. 7. Consistent with this, the Supreme Court has repeatedly emphasized that the primary

check on the President for wrongdoing in official conduct is impeachment and trial by the Senate—

including in Fitzgerald itself: “A rule of absolute immunity for the President will not leave the

Nation without sufficient protection against misconduct on the part of the Chief Executive. There

remains the constitutional remedy of impeachment.” 457 U.S. at 757.

        Therefore, the fact that some Presidents remain immune from prosecution for official acts

because they are never impeached is not a “yawning impunity gap,” Response, at 14, but a

deliberate feature of the structural protections inherent in the separation of powers. “While the

separation of powers may prevent us from righting every wrong, it does so in order to ensure that

we do not lose liberty.” Morrison v. Olson, 487 U.S. 654, 710 (1988) (Scalia, J., dissenting).

        The prosecution next argues that there is not a perfect fit between the “high crimes and

misdemeanors” for which impeachment is authorized under Article II, § 4, and the complete

universe of crimes for which a citizen might be prosecuted. Response, at 10-11. But the “high

crimes and misdemeanors” for which a President can be impeached include alleged crimes of a

“political nature” and other serious abuses of the President’s official responsibilities, as the

prosecution concedes. See id. (“When the Constitution was ratified, the phrase ‘high crimes and

misdemeanors’ was aimed at the ‘misconduct of public men,’ including the ‘abuse or violation of some

public trust.’ . . . The conduct that impeachment targets includes ‘acts taken in [the president’s] ‘public

character’—that is, official acts[.]” (quoting THE FEDERALIST No. 65 (Hamilton), 2 Joseph Story,

COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES § 783 (1833), and Clinton v. Jones,

520 U.S. 681, 696 (1997)). Thus, the political offenses for which a President might be impeached
                                                    6
         Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 8 of 27




match the scope of his immunity, while still ensuring the President “is otherwise subject to the

laws for his purely private acts.” Clinton, 520 U.S. at 696.2

       Finally, the prosecution speculates that the Impeachment Judgment Clause’s “Party

convicted” provision “was intended ‘to assure that after impeachment a trial on criminal charges

is not foreclosed by the principle of double jeopardy.’” Response, at 13-14 (quoting United States

v. Claiborne, 727 F.2d 842, 846 (9th Cir. 1984)). But this inference directly contradicts the

prosecution’s own argument, made on the previous page, that Double Jeopardy does not attach to

impeachment proceedings because their consequences are limited to removal from office and

disqualification from future office. Id. at 12-13 (citing 2 Story, COMMENTARIES §§ 780-81). If

impeachment does not, in fact, result in jeopardy (as the prosecution contends, see id.), there would

be no need for the Impeachment Judgment Clause to specify that subsequent prosecutions are



2
  Straining to find an argument outside the text of the Constitution, the prosecution claims that
President Trump’s argument here “flatly contradicts his claim during his second impeachment
proceedings.” Response, at 12 (citing 167 Cong. Rec. S607 (Feb. 9, 2021)). This, too, is incorrect.
The prosecution thoroughly misrepresents the arguments made by President Trump’s impeachment
counsel. The topic under dispute was whether a President can be impeached after he leaves office,
not the scope of Presidential immunity. See 167 Cong. Rec. at S607. What impeachment counsel
described as a “complete canard” was the argument that “any official who betrayed the public trust
and was impeached could avoid accountability simply by resigning one minute before the Senate’s
final conviction vote.” Id. Counsel then referred to the “judicial process in this country” and the
“investigative process in this country to which no former officeholder is immune,” and emphasized
that those processes include “the safeguards of the judicial system.” Id. Counsel never addressed
whether former Presidents have absolute immunity from prosecution for official acts, and the
“safeguards of the judicial system,” id., plainly include the right to assert Presidential immunity as
a defense in a future prosecution.
Relatedly, the prosecution argues that “some Senators explicitly referred to the availability of
criminal prosecution as an alternative means of providing accountability.” Doc. 109, at 14. But it
cites statements from only three Senators—a bloc whose votes were not necessary to reach
acquittal. Id. at 14-15. The views of three Senators do not reflect the views of the whole body, but
each “represent[s] at most the views of a single Senator.” Hamdan v. Rumsfeld, 548 U.S. 557, 666
(2006) (Scalia, J., dissenting). In any event, in the context of this criminal case, it is “emphatically
the province and duty of the judicial department,” not the Senate, “to state what the law is.”
Marbury, 5 U.S. (1 Cranch) at 177.

                                                   7
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 9 of 27




permitted for convictions, as prosecution would be permitted in all cases (conviction or acquittal).

Again, this leaves the “Party convicted” phrase a nullity, which cannot be the correct reading.

       In total, the prosecution wishes to re-write the Impeachment Judgment Clause to say “[all

parties] shall nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment,

according to Law.” U.S. CONST. art. I, § 3, cl. 7. The prosecution may not do so. The clause states

“the party convicted” id. The Court must, therefore, give effect to those words and recognize the

President’s immunity from criminal prosecution for official acts absent conviction by the Senate.

       C.      Historical Evidence Strongly Supports Criminal Immunity.

       The prosecution argues that “[h]istorical evidence from the time of the founding …

confirms that a president was subject to prosecution when no longer in office.” Response, at 15.

On the contrary, the prosecution’s cited sources indicate that a President is “subject to prosecution

when no longer in office,” id., only if he has been impeached and convicted by the Senate.

       First, the prosecution cites several statements from Alexander Hamilton in The Federalist

Nos. 65, 69, and 77, all of which support President Trump’s interpretation. As noted above,

Hamilton’s statements in Federalist Nos. 65 and 69 both contemplate criminal liability only after

a Senate conviction. Likewise, in Federalist No. 77, Hamilton wrote that the President is “at all

times liable to impeachment, trial, dismission from office, incapacity to serve in any other, and to

forfeiture of life and estate by subsequent prosecution in the common course of law.” THE

FEDERALIST NO. 77 (emphasis added). In each case, Hamilton makes clear that prosecution of the

President would occur only “after[]” or “subsequent” to Senate conviction. Next, the prosecution

cites James Iredell’s comments at the North Carolina ratifying convention. Response, at 15-16. As

with Hamilton, Iredell’s comments strongly imply that criminal prosecution would follow

conviction upon impeachment: “If [the President] commits any misdemeanor in office, he is



                                                 8
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 10 of 27




impeachable, removable from office, and incapacitated to hold any office of honor, trust, or profit.

If he commits any crime, he is punishable by the laws of this country….” 4 DEBATES ON THE

CONSTITUTION 109 (J. Elliot ed. 1891). The prosecution cites Justice Thomas’s opinion in Vance

discussing these comments, Response, at 16, but Justice Thomas cited them in arguing that the

President may be immune even from the enforcement of a state criminal subpoena—hardly a

position that supports the Government here. Vance, 140 S. Ct. at 2435 (Thomas, J., dissenting).

       The prosecution also relies on the fact that Chief Justice Marshall’s holding in the trial of

Aaron Burr that “a subpoena duces tecum could be issued to” President Jefferson. Response, at 16

(citing United States v. Burr, 25 F. Cas. at 33-34). But the amenability of a President to respond to

criminal subpoenas bears no resemblance to a President’s exposure to be personally tried,

convicted, and imprisoned for official acts, which would create a debilitating chill on a President’s

ability to fearlessly perform his duties. Further, in Marbury v. Madison, the same author, Chief

Justice Marshall, emphasized that the courts could never sit in judgment on the President’s official

acts: “The acts of such an officer [i.e., the President], as an officer, can never be examinable by the

courts.” Marbury, 5 U.S. (1 Cranch) at 166.

       Cognizant of this clear statement, the prosecution seeks to distinguish Marbury, but its

attempts fail. Doc. 105, at 17. Here is what Chief Justice Marshall wrote in Marbury:

       By the constitution of the United States, the President is invested with certain
       important political powers, in the exercise of which he is to use his own discretion,
       and is accountable only to his country in his political character, and to his own
       conscience. To aid him in the performance of these duties, he is authorized to
       appoint certain officers, who act by his authority and in conformity with his orders.

       In such cases, their acts are his acts; and whatever opinion may be entertained of
       the manner in which executive discretion may be used, still there exists, and can
       exist, no power to control that discretion. The subjects are political. They respect
       the nation, not individual rights, and being intrusted to the executive, the decision
       of the executive is conclusive. The application of this remark will be perceived by
       adverting to the act of congress for establishing the department of foreign affairs.

                                                  9
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 11 of 27




       This officer, as his duties were prescribed by that act, is to conform precisely to the
       will of the President. He is the mere organ by whom that will is communicated. The
       acts of such an officer, as an officer, can never be examinable by the courts.

Marbury, 5 U.S. (1 Cranch) at 165–66 (emphases added). Thus, Chief Justice Marshall asserts that

a President’s official acts “can never be examinable by the courts.” Id. A criminal prosecution of a

President for his official acts is, of course, the most extreme method of “examin[ation] by the

courts.” Id. Justice Story’s opinion in Martin v. Mott, 25 U.S. 19 (1827), reinforced this holding of

Marbury, and further emphasized that it would be particularly inappropriate to allow a jury to sit

in judgment on a President’s official acts. Id. at 33 (rejecting the notion that “the legality of the

orders of the President would depend, not on his own judgment of the facts, but upon the finding

of those facts upon the proofs submitted to a jury”).3

       Finally, the Government relies on Butz v. Economou, 438 U.S. 478 (1978), for the

proposition that “no man in this country is so high that he is above the law.” Response, at 17

(quoting Lee, 106 U.S. at 220). But Butz immediately went on to acknowledge that this principle

is perfectly consistent with the recognition of absolute immunity, when history and public policy

warrant. “In light of this principle,” Butz held, “federal officials who seek absolute exemption from

personal liability for unconstitutional conduct must bear the burden of showing that public policy

requires an exemption of that scope.” Butz, 438 U.S. at 506. The Court then added, “This is not to


3
  The Government dismisses § 1563 of Justice Story’s Commentaries as supposedly addressing
only a sitting President’s immunity from prosecution. Response, at 17-18. But in that section
(quoted in full at Doc. 74, at 28), Justice Story wrote both that a sitting President “cannot … be
liable to arrest, imprisonment, or detention, while he is in the discharge of the duties of his office,”
and that “[i]n the exercise of his political powers he is to use his own discretion, and is accountable
only to his country, and to his own conscience. His decision, in relation to these powers, is subject
to no control; and his discretion, when exercised, is conclusive.” 3 J. Story, COMMENTARIES ON
THE CONSTITUTION OF THE UNITED STATES ch. 37, § 1563 (1833). Justice Story’s Commentaries,
therefore, come to the very same conclusion as Marbury and Martin v. Mott—that a President’s
discretion in the exercise of official acts is “conclusive,” id., and official acts are generally not
“examinable by the courts.” Marbury, 5 U.S. at 165-66.

                                                  10
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 12 of 27




say that considerations of public policy fail to support a limited immunity for federal executive

officials.” Id. The Court then explicitly stated that absolute immunity applies in “those exceptional

situations where it is demonstrated that absolute immunity is essential for the conduct of the public

business.” Id. at 507. The Presidency, of course, presents the most “essential” of all possible cases.

Id.; see also Fitzgerald, 457 U.S. at 750 (citing Butz and holding that “[t]he President’s unique

status under the Constitution distinguishes him from other executive officials”). And, as explained

above, recognizing such immunity does not place the President “above the law,” but instead

embraces the Constitution’s design that it is for the People, through Congress, to decide whether

the President should be criminally liable for his actions.

       D.      Prosecuting President Trump Breaches Centuries of Unbroken Tradition.

       The Government argues that the fact “that no former president has been criminally

prosecuted … reflects not a history and tradition implying the existence of criminal immunity but

instead the fact that ‘most presidents have done nothing criminal, making it difficult to draw

inferences from the absence of arrests and prosecutions.’” Response, at 18 (citation omitted). On

the contrary, American history teems with situations where the opposing party vigorously

contended that a sitting President acted criminally in the exercise of his official responsibilities.

Yet, when the opposing party took power, none of these Presidents was ever prosecuted, until 2023.

       For example, in the 1824 election, Andrew Jackson’s supporters accused President John

Quincy Adams of effecting a “corrupt bargain” with Henry Clay by appointing him Secretary of

State in exchange for using his influence as Speaker of the House to deliver the election to Adams.4

In the 1876 election, President Grant dispatched federal troops to disputed States to ensure that


4
  See, e.g., Jessie Kratz, The 1824 Presidential Election and the “Corrupt Bargain”, National
Archives (Oct. 22, 2020), at https://prologue.blogs.archives.gov/2020/10/22/the-1824-
presidential-election-and-the-corrupt-bargain/.

                                                 11
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 13 of 27




Republican-controlled canvassing committees could organize just enough pro-Republican slates

of electors to elect Rutherford B. Hayes, after Hayes lost the popular vote to Tilden and trailed

greatly in the electoral college.5 President Nixon was widely accused of criminal obstruction of

justice for the exercise of his official duties in the so-called “Saturday Night Massacre,” when he

ordered three subsequent Attorneys General to fire the Watergate Special Prosecutor.6 President

George W. Bush’s critics widely accused him of lying to Congress to induce the Iraq War on false

allegedly pretenses by claiming that Saddam Hussein’s regime in Iraq was hoarding stockpiles of

“weapons of mass destruction,” which turned out to be non-existent.7 President Obama was

criticized for personally authorizing the extrajudicial killing of a U.S. citizen located abroad

through a CIA “kill list” and a drone strike that killed both the citizen and his 16 year-old son, also

a U.S. citizen.8 American history provides many further examples. Though many at the time

believed these official actions were criminal, and their political opponents eventually took power

in every case, none of these Presidents were ever charged with any crime for official acts. Our

history thus reflects a strong tradition against prosecuting Presidents for their official acts.9


5
  See, e.g., Lina Mann, The Election of 1876, The White House Historical Association (Apr. 22,
2021), at https://www.whitehousehistory.org/the-election-of-1876.
6
  See, e.g., Carroll Kilpatrick, Nixon Forces Firing of Cox; Richardson, Ruckelshaus Quit,
Washington        Post    (Oct.     21,     1973),    at    https://www.washingtonpost.com/wp-
srv/national/longterm/watergate/articles/102173-2.htm.
7
   See, e.g., Gary L. Gregg II, George W. Bush: Foreign Affairs, UVA Miller Center, at
https://millercenter.org/president/gwbush/foreign-affairs.
8
  See, e.g., Spencer Ackerman, US Cited Controversial Law in Decision to Kill American Citizen
by Drone, The Guardian (June 23, 2014), at https://www.theguardian.com/world/2014/jun/23/us-
justification-drone-killing-american-citizen-awlaki.
9
   The Government relies on President Ford’s pardon of President Nixon, arguing that it
presupposes that Nixon could have been prosecuted for acts he committed as President. Doc. 109,
at 18. Not so. The fact that Nixon was never prosecuted—despite widespread public outrage and
compelling evidence of wrongdoing—provides compelling evidence of the strength of the
historical tradition against prosecuting former Presidents for their official acts, not its weakness.
Moreover, this argument overlooks that much of the conduct at issue in the Watergate scandal—
                                                  12
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 14 of 27




       Conversely, and as the prosecution recognizes, “[t]hroughout American history, there have

been federal criminal prosecutions of high-ranking officials from all three branches of the federal

government—including the Vice President, members of the Cabinet, Senators, Representatives,

and judges—as well as of governors, mayors, sheriffs, and more.” Doc. 109, at 28. The

Presidency’s absence from this list, despite ample opportunity, proves the point that the President

is immune until and unless the Senate strips the President of that immunity.10

       The prosecution next argues that it is “startling” that a President’s “purposes and motives

… would be completely irrelevant” to the immunity determination. Response, at 20. On the

contrary, the principle that an official’s allegedly unlawful motive or purpose is irrelevant to the

immunity determination has been black-letter law for over a century, and repeatedly reaffirmed.




such as ordering the burglary of the Democratic National Committee headquarters—may well have
been purely private acts, not shielded by immunity at all, thus necessitating a pardon. (Both of
these points apply equally to President Clinton’s admitted perjury in the Paula Jones litigation, for
which he was never prosecuted. Response, at 19.)
Next, even if the acts were within the outer perimeter of President Nixon’s official responsibilities
(which is entirely unclear), immunity once again would not have provided a permanent shield
against all criminal prosecution. Rather, Congress, through impeachment and conviction, could
have stripped President Nixon’s immunity, leaving him susceptible to potential criminal
prosecution and providing logical cause for a pardon.
Finally, President Ford’s decision—which may have been motivated by numerous factors beyond
protecting President Nixon from prosecution, such as attempting to heal political divides or move
forward from Nixon’s presidency—does not and cannot control whether presidential immunity
from criminal prosecution does or should exist. Rather, the Judiciary must make that
determination. Marbury, 5 U.S. (1 Cranch) at 177.
10
   Ignoring actual lessons from history, the Government provides a list of lurid hypotheticals that
have never happened—including treason and murder. Response, at 20 (speculating that a President
might “murder his most prominent critics” or “sell[] nuclear secrets to a foreign adversary”). Some
or all of these hypotheticals, depending on the facts, would likely involve purely private conduct,
rendering them irrelevant here. See id. Yet even if such examples somehow were within the outer
perimeter of a President’s duties, it is overwhelmingly likely the House impeach and the Senate
would convict, and the offending President would then be subject to “Indictment, Trial, Judgment
and Punishment” by criminal prosecution. U.S. CONST. art. I, § 3, cl. 7. That is the process the
Constitution provides, and the prosecution may not ignore it here.

                                                 13
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 15 of 27




See, e.g., Fitgerald, 457 U.S. at 745-46, 756; see also United States v. Johnson, 383 U.S. 169, 180

(1966) (“The claim of an unworthy purpose does not destroy the privilege.”); Spalding v. Vilas,

161 U.S. 483, 498 (1896) (holding that an officer “cannot be held liable to a civil suit for damages

… by reason of any personal motive that might be alleged to have prompted his action, for personal

motives cannot be imputed to duly-authorized official conduct”); Pierson v. Ray, 386 U.S. 547,

554 (1967) (“This immunity applies even when the judge is accused of acting maliciously and

corruptly….”) (quotation omitted); Barr v. Matteo, 360 U.S. 564, 575 (1959) (holding that

immunity applied “despite the allegations of malice in the complaint”); Bradley v. Fisher, 80 U.S.

335, 346–48 (1871) (the “exemption of the judges from civil liability [cannot] be affected by the

motives with which their judicial acts are performed. The purity of their motives cannot in this

way be the subject of judicial inquiry”).

       Thus, far from “startling,” ignoring motive in deciding whether immunity applies in the

first instance is simply the process working as the Constitution provides. To wit—we start from

the presumption that all acts within the outer perimeter acts are immunized. Evidence of bad faith

or unlawful motive is then presented to Congress, which decides through impeachment and

removal proceedings, whether the conduct was egregious to warrant criminal liability. If so, the

President may be charged. If not, as here, the prosecution must accept the People’s judgment.

       E.      Fitzgerald’s Reasoning Strongly Supports Criminal Immunity.

       The prosecution argues that Fitzgerald “clarified that neither the case’s holding nor its

reasoning supported the conclusion that a former president could claim a comparable immunity

from criminal prosecution.” Response, at 21. This is incorrect. The majority opinion in Fitzgerald

merely stated, quite correctly, that it was not deciding the question of immunity from criminal

prosecution, because it was not presented in that case. See 457 U.S. at 754 & n.37. Although the



                                                14
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 16 of 27




Court commented in a footnote that “[t]he Court has recognized before that there is a lesser public

interest in actions for civil damages than, for example, in criminal prosecutions,” id. at 754 n.37,

it did not suggest that the greater “public interest” in criminal prosecutions warrants stripping the

Presidency of criminal immunity. See id. On the contrary, in the same footnote, the Court went on

to state that “[i]t never has been denied that absolute immunity may impose a regrettable cost on

individuals whose rights have been violated.” Id. Emphasizing that “it is not true that our

jurisprudence ordinarily provides a remedy in civil damages for every legal wrong,” the Court

further noted that “victims of statutory crimes ordinarily may not sue in federal court in the absence

of expressed congressional intent to provide a damages remedy.” Id. (emphasis added).

       The reasoning of Fitzgerald strongly supports the finding of criminal immunity here.

Virtually every consideration cited in that case applies with equal or greater force in the criminal

context. Fitzgerald rested on “policies and principles that may be considered implicit in the nature

of the President’s office in a system structured to achieve effective government under a

constitutionally mandated separation of powers,” id. at 748; these “policies and principles” are the

same regardless of whether the President is prosecuted civilly or criminally. Fitzgerald emphasized

that “[t]he President occupies a unique position in the constitutional scheme,” id., which is true in

both civil and criminal cases. Fitzgerald also considered that the President is “entrusted with

supervisory and policy responsibilities of utmost discretion and sensitivity,” and civil suits “would

raise unique risks to the effective functioning of government.” Id. at 750-51. These concerns are

even greater when the President is threatened with criminal prosecution.

       Fitzgerald noted that “a President must concern himself with matters likely to ‘arouse the

most intense feelings.’” Id. at 752 (quoting Pierson, 386 U.S. at 554). These “intense feelings”

make him at least as great a target of politically motivated prosecution as civil lawsuit. “[I]t is in



                                                 15
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 17 of 27




precisely such cases that there exists the greatest public interest in providing an official ‘the

maximum ability to deal fearlessly and impartially with’ the duties of his office.” Id. at 752

(quoting Ferri v. Ackerman, 444 U.S. 193, 203 (1979)). The threat of criminal prosecution is far

more likely to inspire such “fear[]” than civil lawsuit. “This concern is compelling where the

officeholder must make the most sensitive and far-reaching decisions entrusted to any official

under our constitutional system.” Id. The President’s duties are just as “sensitive and far-reaching”

when he is threatened with imprisonment for his exercise of them. “Nor can the sheer prominence

of the President’s office be ignored.” Id. at 752-53. “In view of the visibility of his office and the

effect of his actions on countless people, the President would be an easily identifiable target for

suits for civil damages,” id. at 753—and for political prosecutions as well. “Cognizance of this

personal vulnerability frequently could distract a President from his public duties, to the detriment

of not only the President and his office but also the Nation that the Presidency was designed to

serve.” Id. Again, this concern applies with greater force to criminal liability.

       F.      Analogous Immunity Doctrines Support Criminal Immunity for the President.

       The prosecution contends that analogous immunity doctrines undermine the claim of

Presidential immunity from criminal prosecution. Response, at 22-27. For example, the

prosecution argues that judicial immunity does not extend to criminal prosecution for judicial acts.

Response, at 24-28. The Supreme Court disagrees. In Spalding v. Vilas, the Supreme Court

recognized that “[t]he doctrine which holds a judge exempt from a civil suit or indictment for any

act done or omitted to be done by him, sitting as judge, has a deep root in the common law.” 161

U.S. at 494 (emphasis added); see also Ex parte Virginia, 100 U.S. 339, 348–49 (1879) (upholding

the indictment of a judge on the ground that the actions charged were not “judicial acts”); In re

Kendall, 712 F.3d 814, 835 (3d Cir. 2013) (Roth, J., concurring) (“Exposing judges to criminal



                                                  16
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 18 of 27




liability for judicial acts performed within their jurisdiction poses the same type of threat to judicial

independence as does exposing them to civil suit for money damages.”).

        At common law, a judge could not be made “criminally liable for an abuse of his

jurisdiction,” and Coke’s commentary foreclosed “criminal prosecution for judicial acts.” J.

Randolph Block, Stump v. Sparkman and the History of Judicial Immunity, 1980 DUKE L.J. 879,

884, 887 n.39 (emphasis added) (quoting 6 W. Holdsworth, A HISTORY OF ENGLISH LAW 235-36

(2d ed. 1937)). The prosecution contends that American courts have departed from this tradition,

but all the cases it cites involved classic bribery of judges and solicitation of bribes by judges.11

Bribery of judges is a unique case that could be prosecuted under common law. See Perrin v.

United States, 444 U.S. 37, 43 (1979) (“At early common law, the crime of bribery extended only

to the corruption of judges. By the time of Blackstone, bribery was defined as an offense involving

a judge or ‘other person concerned in the administration of justice’ and included the giver as well

as the receiver of the bribe.”) (emphasis added).

        Although the purpose of the bribe may be to induce some judicial act, in no circumstances

are judges criminally prosecuted for making the wrong decisions. Accordingly, while judicial

bribery prosecutions are entirely unsurprising, each time an overzealous prosecutor has attempted

to charge a judge for purely judicial acts, those acts have been held immune. See United States v.

Chaplin, 54 F. Supp. 926 (S.D. Cal. 1944).12


11
   See Claiborne, 727 F.2d at 843; United States v. Hastings, 681 F.2d 706, 707 (11th Cir. 1982);
United States v. Isaacs, 493 F.2d 1124, 1131 (7th Cir. 1974); United States v. Collins, 972 F.2d
1385, 1388–95 (5th Cir. 1992); United States v. Nixon, 816 F.2d 1022, 1024 (5th Cir. 1987); United
States v. Manton, 107 F.2d 834, 838, 850 (2d Cir. 1939).
12
    The prosecution cites a footnote in Mireles v. Waco, for the statement that “a judge is not
absolutely immune from criminal liability.” 502 U.S. 9, 10 n.1 (1991). But this statement, if it had
any relevance outside of bribery or other non-judicial acts (which is unclear), was plain dicta: the
question whether judicial immunity attaches in criminal proceedings had no bearing on the
resolution of the case and was not briefed or argued. See Tyler v. Cain, 533 U.S. 656, 663 n.4
                                                   17
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 19 of 27




       G.      Constitutional Structures Provide Immunity as an “Adequate Safeguard.”

       The prosecution contends that the Presidency has “[a]dequate safeguards” without

immunity from criminal prosecution for official acts. Response, at 28-34. The Supreme Court

anticipated and rejected this argument in Fitzgerald:

       A rule of absolute immunity for the President will not leave the Nation without
       sufficient protection against misconduct on the part of the Chief Executive. There
       remains the constitutional remedy of impeachment. In addition, there are formal
       and informal checks on Presidential action that do not apply with equal force to
       other executive officials. The President is subjected to constant scrutiny by the
       press. Vigilant oversight by Congress also may serve to deter Presidential abuses
       of office, as well as to make credible the threat of impeachment. Other incentives
       to avoid misconduct may include a desire to earn reelection, the need to maintain
       prestige as an element of Presidential influence, and a President’s traditional
       concern for his historical stature.

Fitzgerald, 457 U.S. at 757. Those are the “adequate safeguards” that the Constitution provides.

Foremost on this list of safeguards is “the constitutional remedy of impeachment,” id., which, if it

results in a Senate conviction, authorizes the criminal prosecution of a former President. U.S.

CONST. art. I, § 3, cl. 7. Absent from the list is any other criminal prosecution.

       The prosecution next argues that the various protections of the criminal process—i.e., those

available to ordinary citizens—suffice to protect the President from politically motivated

prosecutions. Response, at 30-32. As Fitzgerald notes, this argument ignores “[t]he President’s

unique status under the Constitution,” 457 U.S. at 750. Further, the prosecution’s claim that the

threat of facing criminal charges upon leaving office will be “immaterial in the case of former

President,” Response, at 29. That argument is nonsensical at best. “[A] President who is concerned

about an ongoing criminal investigation is almost inevitably going to do a worse job as President,”

Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency and Beyond, 93



(2001) (explaining that binding precedent includes only the final disposition of a case and the
determinations “necessary to that result”).

                                                 18
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 20 of 27




MINN. L. REV. 1454, 1461 (2009)—and so is a President who anticipates facing charges after he

leaves office. “[I]t is unrealistic to think that the prospect of possible criminal prosecution will not

interfere with the performance of the duties of the office.” Id. at 2447. “There is no question that

a criminal prosecution holds far greater potential for distracting a President and diminishing his

ability to carry out his responsibilities than does the average civil suit.” Id. at 2452.

II.     The “Outer Perimeter” Test Provides the Appropriate and Workable Standard.

        The prosecution argues that any standard for criminal immunity should be lesser than civil

immunity. On the contrary, the “outer perimeter” test that the Supreme Court adopted in Fitzgerald

provides the obvious, appropriate, and workable standard. As an initial matter, the prosecution’s

proposal of a lesser standard of immunity for criminal cases has no support in law. As noted above,

the scope of immunity for both civil and criminal cases is historically the same. See, e.g., Spalding,

161 U.S. at 494 (describing the “doctrine which holds a judge exempt from a civil suit or

indictment for any act done … by him, sitting as a judge”) (emphasis added, quotation omitted);

see also Gravel v. United States, 408 U.S. 606, 616–18 (1972); Johnson, 383 U.S. at 180–82.

Johnson adopted criminal immunity for legislators for the very same conduct that civil immunity

protects, i.e., the “legislative acts” of members of Congress. 383 U.S. at 185; see also Response,

at 36 (prosecution admitting that legislative immunity “absolutely protects legislative acts”). The

Government’s two-standard approach would be novel and unprecedented.

        The “outer perimeter” test of Fitzgerald, moreover, makes perfect sense in this context. It

is the test that the Supreme Court has already adopted for the closely related doctrine of civil

Presidential immunity. And it is also closely akin to the “clear absence of all jurisdiction” test for

judicial immunity, which distinguishes judicial acts from purely private acts. Stump v. Sparkman,




                                                  19
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 21 of 27




435 U.S. 349, 356-57 (1978). Both tests grant a scope of immunity that focuses on the outer reaches

of the immune official’s authority. See id.; Bradley, 80 U.S. at 351.

        As the Supreme Court necessarily determined in adopting it, the “outer perimeter” test is

reasonable and workable. See Fitzgerald, 457 U.S. at 756. The test was not invented in Fitzgerald

but drawn from prior cases addressing lower-level executive officials. See Barr, 360 U.S. at 575

(“The fact that the action here taken was within the outer perimeter of petitioner’s line of duty is

enough to render the privilege applicable….”) (quoted in Fitzgerald, 457 U.S. at 755). Moreover,

in adopting the test, Fitzgerald observed that “the Court also has refused to draw functional lines

finer than history and reason would support.” 457 U.S. at 755. Finally, the scope of immunity for

the President should not be narrower than for other officials, such as the Director of the Office of

Rent Stabilization, for whom the “outer perimeter” test was adopted in Barr.13

        By contrast, the prosecution offers no plausible alternative standard—as it ultimately

admits. Among other things, the prosecution proposes that its never-defined standard would

consider “the asserted presidential authority to act,” on an apparent sliding scale, Response, at 35;

“the intent or motive animating the conduct in question,” id. at 35-36; the relevant criminal

“statute’s mens rea requirement,” id. at 36; and/or whether the conduct occurs in an area where

“the ‘line’ between a president’s ‘personal and official affairs’ is ‘clear,’ not ‘elusive and difficult

to discern,’” id. at 36 (citations omitted). Needless to say, this elusive “test” is indeterminate, multi-

factored, sliding-scaled, and irreducibly subjective in its application—the very opposite of what

an immunity doctrine should be. This approach, the prosecution concedes, is unworkable:




13
  The Government contends that there is a greater public interest in criminal prosecutions than in
civil suits. Response, at 34. But this concern is more than offset by the potential for greater chilling
effect and interference from criminal prosecutions than from civil suits. See supra Part I.E.

                                                   20
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 22 of 27




“Incorporating these considerations into a workable test would present line-drawing and

administrability problems.” Id.

       More significantly, the prosecution insists that, among other factors, the reviewing court

should consider “the intent or motive animating the conduct in question.” Response, at 35. The

Supreme Court has rejected this argument in every other immunity context, for the obvious reason

that it would completely defeat the concept of immunity. See, e.g., Fitzgerald, 457 U.S. at 745 (“In

exercising the functions of his office, the head of an Executive Department … should not be under

an apprehension that the motives that control his official conduct may, at any time, become the

subject of inquiry in a civil suit for damages.”); id. at 756 (rejecting the notion that “an inquiry

into the President’s motives,” which “could be highly intrusive,” could be conducted in a civil

suit); Johnson, 383 U.S. at 180 (“The claim of an unworthy purpose does not destroy the

privilege.”); Tenney v. Brandhove, 341 U.S. at 367, 377 (1951) (same); Pierson, 386 U.S. at 554

(“This immunity applies even when the judge is accused of acting maliciously and corruptly….”)

Spalding, 161 U.S. at 498 (“[P]ersonal motives cannot be imputed to duly-authorized official

conduct”); Bradley, 80 U.S. at 346–48 (“The purity of [judge’s] motives cannot in this way be the

subject of judicial inquiry.”); see also supra Part I.D. This is yet another fatal flaw in the

prosecution’s alternative. The primary purpose of immunity is to ensure a President may act

without fear of his motives being later questioned by prosecutors who disagree with his decisions.

Allowing such prosecutors to circumvent such immunity (which necessarily attaches pretrial)

merely by making allegations of bad faith would render the doctrine meaningless.

III.   The Acts Alleged in the Indictment Are Immune Under the Outer Perimeter Test.

       Unable to deny that the vast majority of President Trump’s alleged conduct was within the

“outer perimeter” of his duties, the prosecution does not try. Instead, it devotes the bulk of its brief



                                                  21
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 23 of 27




to arguing Presidential criminal immunity does not exist, or should apply with less force than

Fitzgerald and the Impeachment Judgment Clause provide. Indeed, the prosecution presents no

argument at all regarding most of its allegations, apparently conceding they would meet the

Fitzgerald test, consistent with the appropriately broad view of Presidential duties the Government

advanced in Blassingame v. Trump, Nos. 22-5069, 22-7030, 22-7031 (D.C. Cir.) (amicus brief filed

March 2, 2023). The few remaining arguments that the prosecution does make on the test’s

application are meritless.

       A.      President Trump Characterizes the Indictment’s Allegations Properly.

       The prosecution argues that President Trump “misrepresent[s] … the indictment’s

allegations,” by characterizing them “at a stratospheric level of generality.” Response, at 37-39.

On the contrary, President Trump’s descriptions closely follow the Supreme Court’s guidance in

Fitzgerald, which rejected the plaintiff’s loaded, narrowly specific description of President

Nixon’s conduct—i.e., “ordering the discharge of an employee who was lawfully entitled to retain

his job.” Fitzgerald, 457 U.S. at 756. In doing so, the Supreme Court held that the plaintiff could

not remove conduct from the “outer perimeter” simply by casting it in nefarious terms, as such a

“construction would subject the President to trial on virtually every allegation that an action was

unlawful, or was taken for a forbidden purpose” and thereby “deprive absolute immunity of its

intended effect.” Id. Instead, the Supreme Court considered the President’s action in far more

general terms, holding that a personnel decision, regardless of motive, was the President

“prescrib[ing] the manner in which the Secretary will conduct the business of the Air Force.” Id.

at 757. The fact that President Nixon was alleged to have acted in an unlawful manner, and for an

unlawful purpose, was excluded from the Supreme Court’s description of President Nixon’s

conduct because those concerns are irrelevant to the question whether immunity applies. See id.;



                                                22
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 24 of 27




see also Stump, 435 U.S. at 362 (“[T]he factors determining whether an act by a judge is a ‘judicial’

one relate to the nature of the act itself”).

        Under Fitzgerald’s guidance, President Trump’s description of the objective conduct

alleged in the indictment is clearly proper. Doc. 74, at 2-8. The prosecution, by contrast, seeks to

subvert Fitzgerald by describing President Trump’s conduct solely in terms of the allegations of

unlawful purpose and manner—the exact opposite of what Fitzgerald prescribes. The prosecution

repeatedly alleges that President Trump acted in an unlawful manner and for an unlawful motive

or purpose. See Response, at 37 (characterizing the alleged conduct in specific detail with specific

reference to allegedly unlawful motives); id. (describing President Trump’s conduct as supposedly

“acting deceitfully or corruptly to secure a personal benefit for himself”); id. at 38 (claiming that

President Trump engaged in “knowingly false claims of election fraud aimed at interfering with”

a federal function); id. at 39 (further descriptions of acting in a supposedly unlawful manner for a

supposedly unlawful purpose); see also id. at 33 (“[T]he Constitution grants a president no power

to engage in a criminal conspiracy to defeat a federal government function through deceit,

corruptly obstruct a congressional proceeding, or violate others’ constitutional right to vote.”).

        Thus, the prosecution adopts exactly the kind of loaded, gerrymandered description of

alleged conduct that the Supreme Court rejected in Fitzgerald. 457 U.S. at 756. So too, here, the

prosecution’s loaded descriptions “would subject the President to trial on virtually every allegation

that an action was unlawful, or was taken for a forbidden purpose,” which would “deprive absolute

immunity of its intended effect.” Id.14



14
  The prosecution’s related contention that President Trump’s actions fall outside the “Take Care”
power, Response, at 39-40, likewise illustrates this deficiency. The prosecution is incapable of
articulating its argument on this point without referring to President Trump’s alleged motives: “The
concept of ‘faithful execution’ connotes the use of power in the interest of the public, not in the
office holder’s personal interests.” Response, at 39 (emphasis added). But the question whether
                                                 23
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 25 of 27




       B.      Allegedly Organizing Alternate Slates of Electors Is Immune Conduct.

       Finally, the prosecution argues that complete dismissal is unwarranted under the “outer

perimeter” test because at least some of President Trump’s conduct is supposedly purely private.

Response, at 40-42. As noted above, the prosecution makes no specific argument to contend that

the vast majority of President Trump’s alleged conduct—including alleged public statements,

meetings with DOJ, meetings with state officials, and communications with the Vice President and

members of Congress—falls outside the outer perimeter of President Trump’s official duties.

Instead, the prosecution focuses exclusively on the alleged organization of alternate slates of

electors and coordination with non-government personnel in those efforts. Response, at 40-42.

       These arguments fail because organizing alternate slates of electors is both immune

Presidential conduct in itself, and preparatory to the immune Presidential conduct of

communicating with Congress about the election-certification proceedings. First, organizing slates

of electors in attempt, as the indictment alleges, to persuade Congressional officials to act is part

of “the rights, duties, and obligations growing out of the constitution itself … and all the protection

implied by the nature of the government under the constitution.” Cunningham v. Neagle, 135 U.S.

1, 64 (1890). History confirms that organizing alternate slates of electors falls within the outer

perimeter of Presidential duty, because President Grant was directly involved in and supported the

organization of slates of Republican electors in the disputed Hayes-Tilden election of 1876. See

Doc. 74, at 42. In that election, both sides claimed fraud and both sides organized alternate slates

of electors in the key disputed States of Louisiana, Florida, South Carolina, and Oregon. Though

Tilden had large leads in the popular vote and electoral college after Election Day, President Grant



President Trump’s actions were supposedly motivated by his “personal interests,” id., is irrelevant
to the question whether immunity applies. That question turns on the objective nature of his acts,
not their alleged purpose or supposed manner. Fitzgerald, 475 U.S. at 756.

                                                  24
        Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 26 of 27




directly supported the Republicans’ efforts to organize alternate slates of electors by deploying

federal troops to Louisiana and Florida to protect the efforts of Republican-controlled committees

in those States to certify pro-Hayes slates of electors, and he also directed federal troops to observe

and report fraud. See 28 THE PAPERS OF ULYSSES S. GRANT 19-20 (John Y. Simon ed. 2005), at

https://scholarsjunction.msstate.edu/cgi/viewcontent.cgi?article=1026-&context=usg-volumes.

These were Presidential acts, not purely private deeds, and they reflected President Grant’s direct

involvement in organizing the disputed Republican slates of electors, to avoid the certification of

an election tainted by what he viewed as fraud.

       Further, as the indictment claims, the alleged organization of slates of electors was ancillary

and preparatory to the plainly immune conduct of advocating to the Vice President and members

of Congress that they exercise their official duties in a certain way. Such ancillary and preparatory

acts are equivalent to the “administrative and investigative acts necessary for a prosecutor to

initiate or maintain the criminal prosecution,” and thus they share in the latter’s absolute immunity.

Prince v. Hicks, 198 F.3d 607, 612 (6th Cir. 1999) (quoting Ireland v. Tunis, 113 F.3d 1435, 1447

(6th Cir. 1997)); see also, e.g., Guzman–Rivera v. Rivera–Cruz, 55 F.3d 26, 29 (1st Cir.1995)

(“[A]bsolute immunity may attach even to ... administrative or investigative activities when these

functions are necessary so that a prosecutor may fulfill his function as an officer of the court.”

(emphasis in original)). Duties involved in “[p]reparing to initiate a prosecution” such as

“obtaining, reviewing and evaluating evidence,” share in the immunity that attaches to the

prosecution itself. Snell v. Tunnell, 920 F.2d 673, 693 (10th Cir. 1990). So also here.

                                          CONCLUSION

       The indictment should be dismissed with prejudice based on the doctrine of Presidential

immunity.



                                                  25
      Case 1:23-cr-00257-TSC Document 122 Filed 10/26/23 Page 27 of 27




Dated: October 26, 2023               Respectfully submitted,


Todd Blanche, Esq. (PHV)              /s/John F. Lauro
toddblanche@blanchelaw.com            John F. Lauro, Esq.
Emil Bove, Esq. (PHV)                 D.C. Bar No. 392830
Emil.Bove@blanchelaw.com              jlauro@laurosinger.com
BLANCHE LAW                           Gregory M. Singer, Esq. (PHV)
99 Wall St., Suite 4460               gsinger@laurosinger.com
New York, NY 10005                    Filzah I. Pavalon, Esq. (PHV)
(212) 716-1250                        fpavalon@laurosinger.com
                                      LAURO & SINGER
                                      400 N. Tampa St., 15th Floor
                                      Tampa, FL 33602
                                      (813) 222-8990
                                      Counsel for President Trump




                                     26
